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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK                        Hearing Date: August 20, 2018
                                           X        @ 9:30 a.m.
In re:


PATRICIA ROSE LAMANNA                               Case No.: 18-73782-reg

                                                    NOTICE OF MOTION FOR AN ORDER
                                                    TO APPROVE EMPLOYMENT
                      Debtors.                      OF COUNSEL FOR TRUSTEE

SIR/MADAM:



         PLEASE TAKE NOTICE that upon the annexed application of Richard L. Stern,

Chapter 7 Trustee, a hearing will come on to be heard before the Honorable Robert E.

Grossman, United States Bankruptcy Judge, at chambers, United States Bankruptcy

Court, Long Island Federal Courthouse, 290 Federal Plaza, Room 860, Central Islip,

New York 11722, on the 20**^ day of August, 2018 at 9:30 a.m. pursuant to 11
U.S.C. Sections 330(a)(3)(F). for an Order approving employment of Macco & Stern,

LLP as attorneys to the Trustee, and granting the trustee such other, and further relief

as this Court may deem just and proper.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the proposed Order must

be in writing and filed with the Clerk of the Court, United States Bankruptcy Court, Eastern

District of New York, 290 Federal Plaza, Central Islip, New York, 11722,(a)(i) through the

Bankruptcy Court's electronic filing system (in accordance with General Order M-242), which

may be accessed (with a password which is available by contacting the Bankruptcy Court's

technical assistance at 631-712-6200, Monday through Friday, 8:30 a.m. to 5:00 p.m.)

through the Internet at the Bankruptcy Court's website: www.nveb.uscourts.qov using

Netscape Navigator software version 3.0 or higher, and (ii) in portable document format(PDF)

using Adobe Exchange software for conversion; or(b) if a party is unable to file electronically,

such party shall submit the objection in PDF format on a diskette in an envelope with the case

name, case number, type and title of document, document number of the document to which
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the objection refers, and the file name on the outside of the envelope; or (c) if a party is
unable to file electronically or use PDF format, such party shall submit the objection on a
diskette in either Word, WordPerfect, or DOS text(ASC II) format. An objection filed by a

party with no legal representation shall comply with section (b) or(c)as set forth in this
paragraph. A hard copy of the objection, whether filed pursuant to section (a),(b), or (c), as
set forth in this paragraph, shall be hand-delivered directly to the Chambers of the Honorable
Robert E. Grossman so as to received by Richard L. Stern, Chapter 7 Trustee, 2950 Express

Drive South. Suite 109, Islandia, New York 11749, Attn: Richard L. Stern, Esq. no later than
August 13, 2018.

        PLEASE TAKE FURTHER NOTICE that opposition papers, if any, must be served and
filed at least 3 business days before the return date of this hearing.

DATED:          Islandia, New York
                June 21, 2018
                                               YOURS ETC.,

                                               Bv:   /s/ Richard L. Stern
                                               RICHARD L. STERN
                                               Chapter 7 Trustee
                                               2950 Express Drive South
                                               Suite 109
                                              Islandia, NY 11749
                                              (631)549-7900
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:
                                                              Chapter 7
PATRICIA ROSE LAMANNA                                         Case No.:18-73782-reg

                Debtor.

                                                     X
                                APPLICATION FOR RETENTION
                                OF ATTORNEYS FOR TRUSTEE



TO THE HONORABLE ROBERT E. GROSSMAN BANKRUPTCY JUDGE:

               The application of RICHARD L. STERN, respectfully represents:

                1.   That he is the Trustee herein, duly qualified and acting as such.

                2.   The Debtor filed a Petition under Chapter 7 of the Bankruptcy Code on

June 4, 2018. Applicant was appointed Trustee of this estate shortly thereafter.

                3.   That applicant desires to retain MACCO & STERN, LLP, of 2950 Express

Drive South, Suite 109, Islandia, New York 11749 as his attorneys herein as of the bankruptcy

filing date.

               4.    That Applicant has selected said attorneys for the reasons that such

attorneys are familiar with bankruptcy practice and are well qualified to act in the capacity as

attorneys for the Trustee.

               5.    To the best of Applicant's knowledge, said attorneys have no connection

with the Debtor, or any other party in interest or their respective attorneys.

                6.   That the current billing rates for the law firm of MACCO & STERN, LLP is

the sum of $525.00 for partner's time which consists of Michael J. Macco and Richard L.

Stern, $425.00 for senior associate's time, and $325.00 for junior associates.

               7.    There has been no compensation paid to the firm, nor has there been any

promise of compensation.

               8.    That applicant has not previously rendered professional services to the

Debtor.
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            9.     That MACCO & STERN, LLP, represent no interest adverse to the Trustee

or to the estate In the matters upon which they are to be engaged herein, and their

employment would be in the best interests of the estate.

             10.    The trustee believes that it is in the interest of the estate to retain general

bankruptcy counsel at this time. The Trustee wishes to pursue a possible sale of the Debtor's

real property.

             WHEREFORE. Applicant prays for the annexed Order, for which no previous

application has been made.


Dated: Islandia, New York
                                                           /s/ Richard L. Stern

                                                            RICHARD L. STERN
                                                            Chapter 7 Trustee
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UNITED STATES BANKRUPCY COURT
EASTERN DISTRICT OF NEW YORK

In re:

PATRICIA ROSE LAMANNA
                                                            Case No.:18-73782-reg



                     Debtor.



                                   ORDER FOR RETENTION
                                 OF ATTORNEYS FOR TRUSTEE

         Upon the application of RICHARD L. STERN, ESQ., trustee of the above captioned

estate, dated June 21, 2018, seeking an Order authorizing him to employ and retain the law

firm of MACCO & STERN, LLP, as attorneys in the within proceeding, under the provisions of

a Generai Retainer, and upon the affidavit of MICHAEL J. MACCO, a member of the firm of

MACCO & STERN, LLP, stating that the said law firm has no present connection with any of

the creditors, and further that they represent no adverse interest to the above estate in the

matters upon which they are to be engaged, and it appearing that it is necessary for the

Trustee to retain such counsel, it is


         ORDERED,that RICHARD L. STERN, ESQ., Chapter 7 trustee be, and he hereby is,

authorized to retain the iaw firm of MACCO & STERN, LLP, as attorneys to represent him in

the within proceeding under a Generai Retainer effective as of the bankruptcy filing date of

June 4, 2018 and it is further

         ORDERED,that no compensation or reimbursement of expenses shall be paid Macco &

Stern, LLP for professional services rendered to the Trustee, except under a proper

application and by further order of this Court following a hearing on notice pursuant to

Sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules,

and it is further

          ORDERED,that ten business days prior to any increase in Attorney's rates for any

individual employed by the Attorney and retained by the Trustee pursuant to court order,
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Attorney shall file a supplemental affidavit with the Court setting forth the basis for the

requested rate increase pursuant to 11 U.S.C. Sections 330(a)(3)(F). Parties in interest,

including the United States Trustee, retain all rights to object to or otherwise respond to any

rate increase on any and all grounds, including, but not limited to, the reasonableness

standard under 11 U.S.C. Section 330. Supplemental affidavits are not required for rate

increases effective on or after the date the Trustee submits the Trustee's Final Report to the

United States Trustee.




Dated: Central Islip, New York
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Case No.: 18-73782-reg
Chapter 7



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK



In Re:



         PATRICIA ROSE LAMANNA




                           Debtors.




 ORDER AND APPLICATION FOR RETENTION OF ATTORNEYS FOR TRUSTEE




                                 RICHARD L. STERN
                                      Chapter 7 Trustee
                             2950 Express Drive S. Suite 109
                                 Islandia, NY 11749
                                      (631)549-7900
